Case 2:20-cv-01677-MAT Document 1-1 Filed 11/13/20 Page 1 of 26




                     Exhibit A
            Case 2:20-cv-01677-MAT Document 1-1 Filed 11/13/20 Page 2 of 26




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 7                  SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 8   LESLIE S. KEAN, M.D., Ph.D., an individual,
                                                       No.
 9                                Plaintiff,
                                                       COMPLAINT FOR DAMAGES
10          v.
11   SEATTLE CHILDREN’S HOSPITAL, a non-
     profit corporation, d/b/a SEATTLE
12   CHILDREN’S RESEARCH INSTITUTE,
13                                Defendant.
14

15          COMES NOW Plaintiff, Dr. Leslie S. Kean, by and through her undersigned attorneys,

16   and alleges as follows:

17                                             I. PARTIES

18          1.      Plaintiff Leslie S. Kean, M.D., Ph.D., is a resident of the County of King, state of

19   Washington.

20          2.      Defendant Seattle Children’s Hospital, doing business as Seattle Children’s

21   Research Institute (“SCRI”), is a Washington non-profit corporation with its principal place of

22   business in Washington State.

23                                   II. JURISDICTION AND VENUE

24          3.      This court has jurisdiction and venue is proper in this Court due to Defendant’s

25   location in King County and Plaintiff’s contacts with the state of Washington and King County.

                                                                                  CORR CRONIN LLP
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 1
            4.      Although Dr. Kean resides only part-time in King County, she maintains her
 2
     primary residence in Seattle, files taxes in Washington State, and has a Washington driver’s
 3
     license.
 4
           5.       Dr. Kean was employed by Seattle Children’s Research Institute from 2013
 5
     through 2018. Dr. Kean’s injuries in this lawsuit arise out of SCRI’s contracts and associations
 6
     with Dr. Kean in Seattle.
 7
                                                 III. FACTS
 8
           6.       SCRI has an Intellectual Property Policy that applies to “[a]ll staff, faculty
 9
     members, visiting or adjunct faculty (regardless of such person’s obligations to other institutions),
10
     students, and any other individuals (whether paid or unpaid) associated with SCRI.” Ex. A (the
11
     “Policy”).
12
           7.       The Policy defines intellectual property as:
13
            Ownership and associated rights relating to scientific discoveries, technological
14          advances, compilations, and original works. Intellectual Property includes Patents,
15          Trademarks, Copyrights, Trade Secrets and other species such as computer
            software, Mask Work, printed material, or Tangible Property. . . . Intellectual
16          Property is created when something new and valuable has been conceived or
            developed, or when unusual, unexpected, or non-obvious results have been
17          discovered with existing technology and which can be applied to some useful
            purpose.
18
     Ex. A at 1–2 (emphasis added).
19
           8.       The Policy provides that “net revenue” derived from the licensing of intellectual
20
     property will be distributed as follows:
21

22

23

24
25

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 1
     The Policy defines net revenue as the total gross revenue of licensing agreements, less a 20%
 2
     administrative fee and direct costs incurred by SCRI. Ex. A at 6–7.
 3
           9.       Dr. Kean is a nationally- and internationally-recognized expert on the impact of
 4
     co-stimulation blockade agents on Graft vs. Host Disease (“GvHD”). GvHD is a disease that is
 5
     characterized by inflammation in different organs, and is often observed in patients receiving bone
 6
     marrow transplants. GvHD may occur when the white blood cells of the donated tissue attack the
 7
     recipient’s tissues and organs. There are no approved therapies for the prevention of acute GvHD.
 8
           10.      Co-stimulation blockade agents are drugs that are generally used to treat
 9
     autoimmune diseases such as rheumatoid arthritis. This class of drugs includes the drug abatacept,
10
     which goes under the brand name ORENCIA.
11
           11.      Over the last decade, Dr. Kean has led the preclinical, phase I, and phase II trials
12
     of abatacept treatment of GvHD.
13
           12.      To run the phase II clinical trial of abatacept, known as the “ABA2,” Dr. Kean
14
     filed an Investigational New Drug (“IND”) application with the Food and Drug Administration
15
     (“FDA”). An IND is submitted to the FDA if a drug is intended to be used for the purposes of a
16
     clinical investigation. Dr. Kean was and continues to be the sole holder of the IND.
17
           13.      Dr. Kean joined SCRI in 2013 from Emory University. The ABA2 trial had begun
18
     prior to her joining SCRI. Dr. Kean led the clinical trial and biology studies while at SCRI. The
19
     trial completed patient accrual prior to Dr. Kean leaving SCRI. Dr. Kean continues to lead the
20
     long-term follow-up of patients and the biology studies from Boston Children’s Hospital, where
21
     she now works.
22
           14.      The results of the ABA2 trial are extremely promising. Among other markers of
23
     success, Bristol-Myers Squibb Co. (“BMS”) became interested in licensing intellectual property
24
     controlled by SCRI in order to support commercialization and FDA filings for ABA2, including
25

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 1
     filing for FDA approval for a new indication for abatacept to treat GvHD. This licensing
 2
     agreement was initiated after the trial was completed and the results were publicly disclosed.
 3
           15.      Abatacept is approved by the FDA to treat adult rheumatoid arthritis, juvenile
 4
     idiopathic arthritis, and adult psoriatic arthritis. To obtain FDA approval for a new indication,
 5
     BMS needed to obtain, at minimum, biological samples and clinical data collected during the
 6
     ABA2 trial. These biological samples and data were, in part, collected by Dr. Kean before she
 7
     joined SCRI and were continued to be collected after Dr. Kean left SCRI.
 8
           16.      The results of Dr. Kean’s clinical trial have led to the FDA granting abatacept a
 9
     Breakthrough Therapy Designation for the prevention of acute GvHD after transplantation. This
10
     is the first time that a drug has been given a Breakthrough Therapy Designation for GvHD
11
     Prevention. This designation was solely based on Dr. Kean’s preclinical and clinical trials.
12
           17.      SCRI sought to enter a license with BMS that would grant BMS the right to use
13
     biological samples and clinical data from Dr. Kean’s research in the ABA2 trial (the “License”).
14
           18.      Brian Phillips, the Director of Intellectual Property Core for SCRI, asked for and
15
     received assistance from Dr. Kean when negotiating the license terms with BMS. As part of this
16
     assistance, Mr. Phillips informed Dr. Kean of the Policy.
17
           19.      As Mr. Phillips explained to Dr. Kean, the Policy includes a distribution of 33% of
18
     net revenue to inventors, creators, and authors of intellectual property.
19
           20.      After informing Dr. Kean of the Policy, Mr. Phillips worked with Dr. Kean to
20
     negotiate the BMS license in order to maximize monetary value for both SCRI and Dr. Kean. The
21
     License provides for gross revenue of up to $6,480,000 if all performance-based milestones are
22
     achieved. The original proposed agreement with BMS included licensing three items: (1) a
23
     ‘method of use’ patent; (2) the transfer of samples that Dr. Kean created during the trial; and (3)
24
25

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 1
     licensing of the data generated from the trial. The creation of the samples required expert
 2
     fractionation of blood and critical linkage to trial data that only Dr. Kean possessed.
 3
           21.      Importantly, the trial data was not stored at SCRI, but rather, was stored on a web-
 4
     based database, using both Emory University and the University of Washington’s Institute for
 5
     Translational Health Sciences’ (ITHS) software. After BMS decided to license two of the three
 6
     items (the samples created during the trial and the data generated from the trial, but not the
 7
     ‘method of use’ patent), Dr. Kean asked Mr. Phillips about the disposition of funds for items (2)
 8
     and (3), and Mr. Phillips did not indicate any change to the previously agreed-upon payment
 9
     structure.
10
           22.      It was understood by all parties involved in the license negotiation—including Dr.
11
     Kean and Mr. Phillips—that the Policy would apply to the License revenues.
12
           23.      The final license agreement between SCRI and BMS acknowledges Dr. Kean as
13
     the person responsible for developing the intellectual property being licensed:
14

15

16

17
     ...
18

19

20

21
           24.      The License defines the “intellectual property” subject to licensing as follows:
22

23

24
25

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 1
           25.      Eight months after concluding enrollment on the ABA2 trial, Dr. Kean left SCRI
 2
     and joined Boston Children’s Hospital. BMS also entered into a similar license agreement with
 3
     Boston Children’s Hospital in order to secure the right to access data and samples for future FDA
 4
     submissions.
 5
           26.      In 2018, SCRI transferred research samples to BMS, thereby triggering payment
 6
     to SCRI under the license. The clinical samples were necessary for BMS to conduct its analysis
 7
     and make regulatory filings.
 8
           27.      Based on the clinical samples and data developed by Dr. Kean and subject to the
 9
     License, the FDA has granted “Breakthrough Therapy Designation” for abatacept. Breakthrough
10
     Therapy Designation is an FDA program intended to expedite the development and review of
11
     medicines for serious or life-threatening diseases with preliminary clinical evidence that the
12
     investigational therapy may offer substantial improvement on at least one clinically-significant
13
     endpoint over available therapy.
14
           28.      In January 2019, in anticipation of SCRI receiving license revenue under the
15
     agreement as a result of the transfer, Dr. Kean asked Mr. Phillips about the revenue distribution
16
     under the SCRI Policy. At that time—and contrary to his previous representations to Dr. Kean—
17
     Mr. Phillips informed Dr. Kean that the Policy did not apply to the BMS license and that SCRI
18
     would not be sharing revenue with Dr. Kean.
19
           29.      Dr. Kean appealed this decision on September 15, 2019 to SCRI. On October 15,
20
     2019, SCRI again refused to apply the Policy to the license, in direct contravention of the Policy.
21
           30.      On December 2, 2019, Dr. Kean requested an opportunity to be heard by the
22
     Intellectual Property Management Group (“IPMG”). On March 4, 2020, SCRI informed Dr. Kean
23
     that it “ha[d] begun the process of reconvening the IPMG” per Dr. Kean’s request.
24
25

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 1
            31.      Over six months later, on September 11, 2020, Dr. Kean received a one-page letter
 2
     stating the IPMG refused to apply the Policy to the license.
 3
            32.      In contrast, Boston Children’s Hospital has received revenue under its
 4
     substantially-identical license with BMS, and has distributed a portion of that revenue to Dr. Kean
 5
     under the Boston Children’s Intellectual Property Policy.
 6
            33.      Indeed, on June 18, 2020, Boston Children’s Hospital approved payment of
 7
     royalties to Dr. Kean under its substantially-identical data license with BMS. The letter also
 8
     permitted Dr. Kean to begin receiving royalties immediately, even though the study is ongoing
 9
     and has not yet been published.1
10
            34.      By refusing to pay the revenues to Dr. Kean that she is owed under the Policy,
11
     SCRI breached the Policy and has been unjustly enriched, causing injury to Dr. Kean.
12
                                        FIRST CAUSE OF ACTION:
13
                                          BREACH OF CONTRACT
14
            35.      Dr. Kean incorporates all previous allegations.
15
            36.      SCRI’s Policy, which distributes revenue to the developers of intellectual property
16
     at SCRI, is an enforceable contract that it entered into with Dr. Kean.
17
            37.      The clinical samples and data are intellectual property under the Policy.
18
            38.      SCRI has breached the Policy by failing to distribute revenue to Dr. Kean to which
19
     she is entitled to under the Policy for the licensing of clinical samples and data.
20
            39.      SCRI’s breach has caused Dr. Kean damages for which she is entitled to recover,
21
     and Dr. Kean is entitled to receive 33% of the net revenue under the License.
22

23

24           1
               The main manuscript describing the results of the trial was in final revisions as of August 2020
25   and is set to be published shortly.


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 1
                                     SECOND CAUSE OF ACTION:
 2
                                        UNJUST ENRICHMENT
 3
           40.      Dr. Kean incorporates all previous allegations.
 4
           41.      The clinical data and samples are valuable materials created by Dr. Kean and that
 5
     have generated licensing revenue for SCRI. The creation of the clinical data began before Dr.
 6
     Kean arrived at SCRI and has continued since she left SCRI.
 7
           42.      SCRI has refused to apply its own Policy to Dr. Kean such that it has refused to
 8
     distribute revenue to Dr. Kean to which she is entitled.
 9
           43.      By arbitrarily and unfairly refusing to apply its Policy to Dr. Kean, SCRI has
10
     unjustly enriched itself.
11
           44.      Dr. Kean is entitled to the reasonable value of this improper enrichment in an
12
     amount to be proven at trial.
13
                                     THIRD CAUSE OF ACTION:
14
                                        EQUITABLE ESTOPPEL
15
           45.      Dr. Kean incorporates all previous allegations.
16
           46.      Mr. Phillips indicated to Dr. Kean, through words and actions, that the Policy
17
     would apply to the License and that Dr. Kean would be entitled to a share of License revenue.
18
           47.      Dr. Kean reasonably relied upon Mr. Phillips’s representations when assisting
19
     SCRI during negotiation of the License and afterwards.
20
           48.      SCRI has refused to distribute revenue under the Policy to Dr. Kean, causing her
21
     damages.
22
           49.      SCRI should be equitably estopped from refusing to distribute revenue to Dr. Kean.
23

24
25

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 1
                                         PRAYER FOR RELIEF
 2
            WHEREFORE, Plaintiff now prays for judgment against Defendant as follows:
 3
            A.      That Dr. Kean be awarded a judgment in her favor for each of the Causes of Action
 4
     set forth in this Complaint;
 5
            B.      For injunctive relief to enforce the Policy and estop SCRI from refusing to
 6
     distribute net revenue from the license to Dr. Kean;
 7
            C.      For actual damages and/or unjust enrichment for breach of contract;
 8
            D.      For attorney fees and costs as the prevailing party;
 9
            E.      For prejudgment interest on all amounts awarded; and
10
            F.      For any and all further relief that this Court deems just and equitable.
11
            DATED this 3rd day of November, 2020.
12
                                                   CORR CRONIN LLP
13

14
                                                   s/ Eric A. Lindberg
15                                                 Eric Lindberg, WSBA No. 43596
                                                   Maia R. Robbins, WSBA No. 54451
16                                                 1001 Fourth Avenue, Suite 3900
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                EXHIBIT A
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                               Research Institute               POLICIES & PROCEDURES




     TITLE Intellectual Property Policy
                                                                                      FINAL
   NUMBER IPC-100
 EFFECTIVE 1/1/2012                                                                   DRAFT
 REVIEWED                                                                             RESCINDED
MARYROCEDURE
POLICY

Purpose of Policy, Philosophy & Objectives
The prompt and open dissemination of the results of research and creative work among scholars
and, eventually, to the public at large is essential to Seattle Children’s Research Institute’s
mission. The commercial development and distribution of the results of research and creative
work to benefit the inventor or creator, health, and the economy is part of the Institute’s purpose.
This Policy is intended to facilitate the commercial development of Intellectual Property arising at
the Institute and to provide an incentive to Institute inventors or creators to participate in such
development. The Institute is interested in advancing the practical applications of research
findings to encourage the development of Intellectual Property for the best interest of the public,
the creator(s), the research sponsor (if any), and the Institute. The Institute is especially
interested in advancing the improvement of health conditions in general and child health in
particular. Effective dissemination and commercialization of technology may require protection
and licensing of SCRI Intellectual Property.

Scope
This policy covers Intellectual Property, both patented and non-patented innovations, including
computer software with commercial value, and is applicable to all faculty, staff, and students
conducting work at or on behalf of Seattle Children’s Research Institute or Seattle Children’s. The
policy does not cover scholarly works.
The Intellectual Property Core (IPC) is the SCRI Department that is responsible for all technology
transfer and related intellectual property matters. The IPC works in coordination with the
President, Research Institute, the Office of the General Counsel, and the Intellectual Property
Management Group.

Definitions and Roles
Covered Individuals - All staff, faculty members, visiting or adjunct faculty (regardless of such
person's obligations to other institutions), students, and any other individuals (whether paid or
unpaid) associated with SCRI.
“Special Case Contributor” means a Contributor that has University faculty (including those who
are members of Children’s University Medical Group (CUMG)), staff, trainee, or student status,
whose financial support was provided by Children’s (even if administered through University),
and who, for activities leading to generation of the IP, (i) did not have University funded salary
support; (ii) did not utilize facilities of the University; and (iii) did not utilize extramural funds
administered by the University or intramural funds provided by University.
Intellectual Property – Ownership and associated rights relating to scientific discoveries,
technological advances, compilations, and original works. Intellectual Property includes Patents,
Trademarks, Copyrights, Trade Secrets and other species such as computer software, Mask
Work, printed material, or Tangible Property. The formal protections provided by Patents,

IPC100: Intellectual Property Policy                                                        Page 1 of 8
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                               Research Institute              POLICIES & PROCEDURES




Copyrights or Trademarks may be used to preserve some Intellectual Property from unauthorized
use or misappropriation. Intellectual Property is created when something new and valuable has
been conceived or developed, or when unusual, unexpected, or non-obvious results have been
discovered with existing technology and which can be applied to some useful purpose.
Intellectual Property can be created by one person or co-created by several.
Vice President, Research directs the Intellectual Property Core (IPC) and is responsible for the
overall implementation of this policy.
President, Research Institute oversees the activity of the IPC and implementation of this policy;
serves as decision maker in matters of resource allocation, investment, interpretation of and
exceptions to policy and in dispute matters under this policy.
General Counsel chairs the Intellectual Property Management Group; advises the IPC and
President, Research Institute in matters of intellectual property law, commercialization, conflicts
of interest, and risk management and related matters; directs and effects the selection of patent
attorney and other legal resources in support of IPC objectives.
Intellectual Property Management Group advises the IPC on Intellectual Property Matters; hears
and makes recommendations to the President, Research Institute in matters of dispute under this
policy; advises on licensing and prosecution matters. Through its chair, the IPMG will report
quarterly or as required to the Seattle Children’s Research Institute Advisory Board of the Board
of Trustees regarding the current status of Seattle Children’s research-related intellectual
property.

1. Reporting
      a. Reporting: Reporting Obligation
         All Intellectual Property, as defined, including potential inventions, should be reported
         promptly by the inventor to the IPC. Faculty and staff should contact The IPC for
         advice on administrative matters, including how to report a potential invention and
         how to assess special requirements of sponsoring agencies. Potential inventions
         should be reported on an Invention Disclosure (forms available from the IPC). The
         Invention Disclosure serves as the basis for any patentability assessments and the
         crafting of any patent application. It is also essential to support the commercial and
         technical assessment of the potential invention. Disclosures should be submitted to
         the IPC.

         b. Reporting: Supporting Materials
            Supporting materials including lab notebooks, data sets, and publication drafts are
            often helpful in preparing invention disclosure and may be helpful in establishing when
            an invention was actually made.

2. Assignment
      a. Assignment Obligations & Ownership
         The ownership of Intellectual Property developed by Covered Individuals, using SCRI-
         administered facilities, funding, or resources (including but not limited to: use of
         equipment, laboratory space, funds administered by SCRI including funds from
         sponsored research or gifts, etc.) vests in SCRI.


IPC100: Intellectual Property Policy                                                     Page 2 of 8
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                               Research Institute               POLICIES & PROCEDURES




         b. Assignment Obligations & Ownership: By Use of Facilities, Funding, and
            Resources administered by SCRI
            By virtue of using facilities, funding, or resources administered by SCRI, and even if a
            specific assignment agreement is not signed, Covered Individuals assign all
            inventions in which SCRI has an interest to SCRI. Covered Individuals shall execute
            documents of assignment and do everything reasonably required to assist SCRI in
            obtaining, protecting, and maintaining patent or other proprietary rights.

         c. Assignment Obligations & Ownership: Confirmed in writing
            For purposes of clarity, the IPC will collect disclosure-specific assignment documents
            from Covered Individuals. Refusal to sign such assignment documents does not
            negate assignment given as provided for above and may be grounds for the
            suspension or termination of the Covered Individual’s use of facilities, funding, or
            resources administered by SCRI.

         d. Assignment Obligations & Ownership: Subject to Contractual Obligations
            In the case of Inventions developed in the course of research funded by a sponsor
            pursuant to a grant or research agreement, or which is subject to a materials transfer
            agreement, confidential disclosure agreement or other legal obligation requiring
            disclosure, the disclosure, management, and assignment/ownership of such
            Intellectual Property will be managed consistent with the terms of such grant or
            agreement, as approved by SCRI, if such terms differ from this Policy.

         e. Assignment Obligations & Ownership: Agreement with UW
            The University of Washington (UW) and SCRI have a unique, valuable, and
            collaborative relationship related to pediatric-focused research that involves frequent
            collaborations between researchers from both institutions. Because such
            collaborations sometimes result in Intellectual Property in which both UW and SCRI
            have an interest, they have entered into an agreement (Inter-Institutional Agreement
            on Intellectual Property Management between The University of Washington and
            Seattle Children’s Hospital dba Seattle Children’s Research Institute, 7/3/2012) with
            respect to their rights in and management of Intellectual Property. In addition to
            agreeing to certain collaborations pertaining to shared intellectual property, the UW
            and SCRI agreed to their respective rights with respect to the special case of
            Intellectual Property created by individuals who have the status of University faculty,
            trainee, or student, and are engaged in research or clinical practice in Children’s
            facilities or utilizing or being supported by funding from or administered by Children’s.
            Because of their connections to both University and Children’s, such individuals may
            be subject to the policies and procedures of both institutions, including the two
            institutions’ respective intellectual property policies. The UW and SCRI agreed that
            where a Special Case Invention involves only inventors who are Special Case
            Contributors, Children’s will be the Lead Party, meaning that SCRI IPC will manage
            the intellectual property and Special Case Contributors assign the intellectual property
            to SCRI.

         f.    Assignment Obligations & Ownership: Commissioned Works and Work-for-Hire


IPC100: Intellectual Property Policy                                                       Page 3 of 8
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                               Research Institute                POLICIES & PROCEDURES




             SCRI will own any Intellectual Property that is made, discovered, or created by a
             Covered Individual who is specifically hired or commissioned by SCRI for that
             purpose, unless otherwise provided by written agreement between such individual
             and SCRI. Unless provided for otherwise in the written agreement, the creator of the
             Intellectual Property generated as a Commissioned Work or work-for-hire shall not be
             entitled to participation in revenue distributions. The written agreement must be
             entered into prior to initiation of work that will lead to the commissioned work or work-
             for-hire.

3. Evaluation
   The IPC will review, evaluate, and make a disposition of all disclosure forms, and will
   promptly notify the Covered Individual of the disposition. The evaluation and disposition of a
   disclosure will be completed as soon as possible after the IPC receives a complete and
   accurate Invention Disclosure form and any other information that the IPC requests in order
   to make an informed evaluation of a potential invention. In the case of Intellectual Property
   that the Covered Individual discloses for possible commercialization by SCRI, the IPC will
   evaluate its commercial potential and the likelihood of the intellectual property being
   protectable. To assist in this determination, the IPC may consult with patent or copyright
   counsel and outside experts and may seek the advice of the Intellectual Property
   Management Group. Once the evaluation is completed, the IPC will develop and pursue a
   plan for the intellectual property, which may include protection through patent prosecution.

4. Prosecution
   If the IPC elects to pursue protection through patent prosecution, the IPC will arrange
   resources (including consultants, patent attorneys, prospective licensees, etc) that are
   necessary to prepare the patent application(s). The patent applications will be submitted by
   patent attorneys/agents designated by the IPC.

         a. Prosecution: Participation Expectations
            Crafting a high quality patent application depends on the contribution of a number of
            actors, especially the inventors. Therefore, the inventors should expect to actively
            collaborate with other resources (including consultants and patent attorneys) in the
            crafting of the application, as well as in formulating responses to “Office Actions” that
            will be received from various patent offices and executing formal documents, including
            assignment documents and declarations.

         b. Prosecution: Decision
            When the IPC has determined that protection of intellectual property is likely to help
            commercialize the IP and is otherwise a positive value proposition, it will seek
            protection. Reaching a positive value proposition is not necessarily limited to
            monetary considerations. In some cases, protection of intellectual property may be
            pursued even if commercial potential is unclear, to preserve commercial and other
            opportunities in the future, or when required by an outside sponsor. In general, the
            IPC will pursue protection for IP that presents a positive value proposition, which may
            limit the investment that is made in the process of prosecution.



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5. Relinquishment
   Under certain circumstances, if SCRI elects to not pursue intellectual property protection,
   SCRI may relinquish its ownership rights in an Invention to the inventor or creator of the
   Intellectual Property at his or her request. The rights may be governed by legal or contractual
   obligations which may limit the extent to which SCRI may relinquish its interests. In such
   cases, the relinquishment of any SCRI rights in the Intellectual Property will be governed by
   the terms of the relevant grant or research agreement or other contractual obligation. If
   certain Intellectual Property is available for relinquishment by SCRI, the inventor or creator of
   the Intellectual Property may request in writing that the IPC grant a release or assignment of
   rights. The IPC, in consultation with the SCRI President, will promptly respond to this request.
   SCRI will retain a royalty-free, non-exclusive license to use any such Inventions for academic
   research and teaching and may retain other rights. If SCRI has incurred expenses in
   connection with the Intellectual Property (e.g., patent-related expenses), SCRI may condition
   its relinquishment of rights to that Intellectual Property through a contract with the Covered
   Individual to reimburse SCRI for those expenses. Once an Intellectual Property is
   relinquished to the inventor, the inventor may no longer utilize SCRI resources for ongoing
   research and development related to the intellectual property. An Inventor should consult with
   counsel of the Inventor’s choosing regarding the tax treatment of any relinquished Intellectual
   Property.

6. Appeals
   If an inventor disagrees with an IPC decision or an IPC interpretation of this policy, inventor
   must first make this known to the IPC. Any disputed issues that cannot be resolved with the
   assistance of the IPC shall be referred to the Intellectual Property Management Group
   (IPMG) for a recommendation. Inventor disputing IPC decisions shall request opportunity to
   be heard by IPMG through the Office of the General Counsel, who will manage the IPMG
   process, resulting in the IPMG recommendation. The President, Research Institute will
   receive IPMG’s recommendations and will instruct actions, if any. The President, Research
   Institute is the final arbiter of any disputed issues related to intellectual property, income
   distribution or the interpretation of this Policy.

7. Commercialization
   The IPC as directed by the Vice President, Research, in coordination with the President,
   Research Institute and General Counsel, has responsibility for the commercial development
   and administration of all SCRI-owned Intellectual Property.

         a. Commercialization: Licensing
            The commercial development of SCRI intellectual property will ordinarily occur
            through licensing. The IPC will consult with creator(s) of the Intellectual Property in
            developing a commercialization strategy and identifying potential licensees. The IPC
            shall promote commercialization through licensing that promotes the dissemination
            and use of the technology and provides for equitable economic rewards to SCRI.

8. Revenue Management and Distribution
      a. Revenue Management and Distribution: Direct Cost Recovery, Net Revenue
         Definition
         Direct costs incurred by SCRI in the protection and licensing of intellectual property

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             must be recovered before distribution of income begins. The IPC may also retain
             amounts necessary to recover reasonably anticipated direct costs.
             Direct costs include legal expenses and fees incurred by SCRI and associated with
             obtaining and maintaining patent or other legal protection for Intellectual Property or
             expenses incurred in support of negotiating, managing, and enforcing assignments,
             waivers, licenses, and other contracts associated with acquiring, maintaining, and
             transferring Intellectual Property.
             Direct costs also include the SCRI out-of-pocket expenses associated with the
             promotion of a specific Intellectual Property which includes, but is not limited to, travel,
             market research, and costs associated with the management and realization of
             revenue.
             Direct costs further include any SCRI investments made in the development of
             specific technologies. In certain cases these expenditures may be treated as direct
             costs and may be reimbursed. All such reimbursements shall be subject to approval
             from the IPC. They will be made only after recovery of the IPC administrative fee and
             recovery of any other direct costs incurred or reasonably anticipated. If the
             investments were made by an area other than IPC, the expenditures and
             reimbursements will be governed by a memorandum of understanding between the
             IPC and the area. The reimbursement agreement shall be subject to the following
             restrictions: (1) Expenditures made by units prior to disclosure to the IPC will not be
             considered; (2) No reimbursements may be made for salaries for individuals hired
             prior to the disclosure; and (3) Post-disclosure expenditures (usually for prototype
             development or software development costs) up to $100,000 may be reimbursed from
             licensing income only when all those who are eligible for a share of the licensing
             income, including inventors, give written approval. This approval must be in place in
             advance of any expenditure.
             Total Gross Revenue is the total consideration received by SCRI pursuant to a
             contract pertaining to particular Intellectual Property. Licensee-paid cost recoveries
             are direct costs incurred by SCRI and paid by a licensee. Adjusted Gross Revenue is
             the Total Gross Revenue less licensee-paid cost recoveries.
             The IPC shall retain licensee-paid cost recoveries, and shall deduct an Administrative
             Fee of 20 percent from Adjusted Gross Revenue. From the remainder, the IPC shall
             deduct amounts necessary to cover incurred and reasonably anticipated direct costs.
             The residual after these deductions from Total Gross Revenue is Net Revenue.

                                                      Total Gross Revenue
                                       Less           Licensee-paid cost recoveries
                                       Equals         Adjusted Gross Revenue
                                       Less           IPC Administrative Fee (20%)
                                       Less           Direct Costs Incurred
                                       Less           Direct Costs Anticipated
                                       Less           Direct Cost Investments
                                       Equals         Net Revenue

         b. Revenue Management and Distribution: Generally
            Net Revenue derived from the licensing of intellectual property in which SCRI holds
            an interest will be distributed as shown in the table below.

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                                       Inventors, Creators,   Inventor's/ Creator’s/   SCRI Royalty Funds
                Net Revenue                 Authors           Author's Department
                                               1/3                     1/3                    1/3

             This revenue distribution schedule will be used to distribute revenue received by SCRI
             on technologies licensed on or after January 1, 2012.

         c. Revenue Management and Distribution: Special Case Inventors
            In circumstances where inventors are Special Case Inventors, SCRI will transfer to
            University of Washington Center for Commercialization 5% of Adjusted Gross
            Revenue as UWC4C administrative fee and IPC Administrative Fee will be 15% of
            Adjusted Gross Revenue. Further, the “Inventor's/ Creator’s/ Author's Department”
            share of Net Revenue will be transferred to the University of Washington for
            distribution to the Inventor’(s) school or college department (75%) and the Inventor’s
            school or college (25%).
            There may be circumstances where there are Special Case Inventors and
            inventors/creators who are not Special Case Inventors. In those cases, distributions
            and allocations will be adjusted to reflect the inventive or creative circumstances.

         d. Revenue Management and Distribution: If more than one inventor
            In the case of joint inventorship, each inventor’s share shall be equal, unless
            otherwise agree to by each inventor. In such an event, the inventors should document
            an unequal share agreement and submit that document to the IPC. The unequal
            share distribution will apply to distributions made after receipt of the unequal share
            agreement documentation.

         e. Revenue Management and Distribution: Waiver
            An individual entitled to Net Revenue Distribution under this policy may prospectively
            waive the receipt of a portion or all of his or her distribution. The following conditions
            apply:
                 i. The individual, at the time of the waiver, may designate his or her laboratory or
                    research program, department, or other SCRI area as the recipient of the
                    waived amount. The waived funds will be regarded as regular SCRI funds
                    subject to all of the usual and customary legal and administrative requirements
                    of SCRI, including F&A Assessment, as appropriate.
                ii. In order to ensure that the use of the funds is consistent with the mission of
                    SCRI, the President, Research Institute must approve a plan for the
                    designation of funds submitted by the individual, and, thereafter, may review
                    the use of the funds at any time. It is expected that the waiver plan will be
                    approved only with the concurrence of the Director of the receiving unit,
                    generally the Center Director of the individual’s SCRI Research Center.
               iii. The waiver must be irrevocable and executed prior to the end of the fiscal year
                    in which the revenue was generated.
               iv. Funds directed to the individual's research laboratory or program may only be
                    used to support research and educational expenses associated with the


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                       individual's research laboratory or program. Such funds cannot be used for
                       travel (including transportation, lodging, meals, and attendant costs), salary for
                       the individual or a family member, or other similar purpose.
               At the discretion of the President, Research Institute, the funds waived by the
               employee may be matched by SCRI, subject to the following conditions:
                  v. The match will be on a 1:1 dollar basis.
                  vi. The Inventor's/ Creator’s/ Author's Department participates in the match in an
                      amount equal to the SCRI match.
                 vii. The combined match from SCRI and Department shall not exceed $100,000
                      per individual per year, regardless of how many inventions or other intellectual
                      properties are involved. It shall not exceed $300,000 per year from a single
                      license.

         f.    Revenue Management and Distribution: COI
               The possibility of a financial conflict of interest is inherent in the commercial
               development of intellectual property. SCRI has, under the management of the Office
               of Research Compliance (ORC), adopted Conflict of Interest (COI) Policies applicable
               to all faculty and staff and has established procedures to develop and implement
               mechanisms to manage, reduce, or eliminate, when necessary, such financial
               conflicts for individuals engaged in research. These policies require timely disclosure
               of interests. Special consideration must be given to licensing agreements that could
               be related to an individual's research.
               Conflict of interest management provisions may limit or even preclude inventors’
               involvement in research that is directed at validation, improvement, or promotion of
               intellectual property in which they have an interest. For example, intellectual property
               financial interest concurrent with active participation in clinical trials is likely to present
               risks so high as to preclude participation of a conflicted individual in clinical trials.
               It is important to note that SCRI may also have institutional conflicts of interest, which
               must be evaluated by the Office of Research Compliance (ORC) and other
               responsible parties. Such conflicts are handled on an ad hoc basis.

9. Sponsored Research Agreements
   SCRI may also refuse to process any sponsored research agreement involving Covered
   Individual to the extent that the agreement would grant rights in Intellectual Property to an
   outside party in a manner inconsistent with this policy or SCRI’s interests.


APPROVED BY

Erik M. Lausund
Vice President
Research Institute Administration




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                      IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                    FOR THE COUNTY OF KING

Ph.D. Leslie S. Kean, M.D.                    NO. 20-2-16194-2 SEA

                               Plaintiff(s)   ORDER SETTING CIVIL CASE SCHEDULE
vs
                                              ASSIGNED JUDGE: PARISIEN, Dept. 42
SEATTLE CHILDREN'S HOSPITAL
                                              FILED DATE: 11/03/2020
                             Defendant(s)     TRIAL DATE:11/01/2021

A civil case has been filed in the King County Superior Court and will be managed by the Case Schedule on
Page 3 as ordered by the King County Superior Court Presiding Judge.

                                                  I. NOTICES

NOTICE TO PLAINTIFF: The Plaintiff may serve a copy of this Order Setting Case Schedule
(Schedule) on the Defendant(s) along with the Summons and Complaint/Petition. Otherwise, the
Plaintiff shall serve the Schedule on the Defendant(s) within 10 days after the later of: (1) the filing of the
Summons and Complaint/Petition or (2) service of the Defendant's first response to the
Complaint/Petition, whether that response is a Notice of Appearance, a response, or a Civil Rule 12
(CR 12) motion. The Schedule may be served by regular mail, with proof of mailing to be filed promptly
in the form required by Civil Rule 5 (CR 5).

NOTICE TO ALL PARTIES:
All attorneys and parties should make themselves familiar with the King County Local Rules [KCLCR] --
especially those referred to in this Schedule. In order to comply with the Schedule, it will be necessary
for attorneys and parties to pursue their cases vigorously from the day the case is filed. For example,
discovery must be undertaken promptly in order to comply with the deadlines for joining additional parties,
claims, and defenses, for disclosing possible witnesses [See KCLCR 26], and for meeting the discovery
cutoff date [See KCLCR 37(g)].
            You are required to give a copy of these documents to all parties in this case.




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                                          I. NOTICES (continued)

CROSSCLAIMS, COUNTERCLAIMS AND THIRD PARTY COMPLAINTS:
A filing fee of $240 must be paid when any answer that includes additional claims is filed in an existing
case.

KCLCR 4.2(a)(2)
A Confirmation of Joinder, Claims and Defenses or a Statement of Arbitrability must be filed by the
deadline in the schedule. The court will review the confirmation of joinder document to determine if a
hearing is required. If a Show Cause order is issued, all parties cited in the order must appear before
their Chief Civil Judge.

PENDING DUE DATES CANCELED BY FILING PAPERS THAT RESOLVE THE CASE:
When a final decree, judgment, or order of dismissal of all parties and claims is filed with the Superior
Court Clerk's Office, and a courtesy copy delivered to the assigned judge, all pending due dates in this
Schedule are automatically canceled, including the scheduled Trial Date. It is the responsibility of the
parties to 1) file such dispositive documents within 45 days of the resolution of the case, and 2) strike any
pending motions by notifying the bailiff to the assigned judge.

 Parties may also authorize the Superior Court to strike all pending due dates and the Trial Date by filing
a Notice of Settlement pursuant to KCLCR 41, and forwarding a courtesy copy to the assigned judge. If a
final decree, judgment or order of dismissal of all parties and claims is not filed by 45 days after a Notice
of Settlement, the case may be dismissed with notice.

If you miss your scheduled Trial Date, the Superior Court Clerk is authorized by KCLCR 41(b)(2)(A) to
present an Order of Dismissal, without notice, for failure to appear at the scheduled Trial Date.

NOTICES OF APPEARANCE OR WITHDRAWAL AND ADDRESS CHANGES:
All parties to this action must keep the court informed of their addresses. When a Notice of
Appearance/Withdrawal or Notice of Change of Address is filed with the Superior Court Clerk's Office,
parties must provide the assigned judge with a courtesy copy.

 ARBITRATION FILING AND TRIAL DE NOVO POST ARBITRATION FEE:
A Statement of Arbitrability must be filed by the deadline on the schedule if the case is subject to
mandatory arbitration and service of the original complaint and all answers to claims, counterclaims and
cross-claims have been filed. If mandatory arbitration is required after the deadline, parties must obtain
an order from the assigned judge transferring the case to arbitration. Any party filing a Statement must
pay a $250 arbitration fee. If a party seeks a trial de novo when an arbitration award is appealed, a fee
of $400 and the request for trial de novo must be filed with the Clerk’s Office Cashiers.

NOTICE OF NON-COMPLIANCE FEES:
All parties will be assessed a fee authorized by King County Code 4A.630.020 whenever the Superior
Court Clerk must send notice of non-compliance of schedule requirements and/or Local Civil Rule 41.

      King County Local Rules are available for viewing at www.kingcounty.gov/courts/clerk.




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                                           II. CASE SCHEDULE
*   CASE EVENT                                                                          EVENT DATE
    Case Filed and Schedule Issued.                                                          11/03/2020
*   Last Day for Filing Statement of Arbitrability without a Showing of Good Cause           04/13/2021
    for Late Filing [See KCLMAR 2.1(a) and Notices on Page 2].
     $220 arbitration fee must be paid
*   DEADLINE to file Confirmation of Joinder if not subject to Arbitration                     04/13/2021
    [See KCLCR 4.2(a) and Notices on Page 2].
    DEADLINE for Hearing Motions to Change Case Assignment Area [KCLCR                         04/27/2021
    82(e)].
    DEADLINE for Disclosure of Possible Primary Witnesses [See KCLCR 26(k)].                   06/01/2021
    DEADLINE for Disclosure of Possible Additional Witnesses [See KCLCR 26(k)].                07/12/2021
    DEADLINE for Jury Demand [See KCLCR 38(b)(2)].                                             07/26/2021
    DEADLINE for a Change in Trial Date [See KCLCR 40(e)(2)].                                  07/26/2021
    DEADLINE for Discovery Cutoff [See KCLCR 37(g)].                                           09/13/2021

   DEADLINE for Engaging in Alternative Dispute Resolution [See KCLCR 16(b)].                   10/04/2021
   DEADLINE: Exchange Witness & Exhibit Lists & Documentary Exhibits                            10/11/2021
   [KCLCR 4(j)].
* DEADLINE to file Joint Confirmation of Trial Readiness [See KCLCR 16(a)(1)]                   10/11/2021
   DEADLINE for Hearing Dispositive Pretrial Motions [See KCLCR 56; CR 56].                     10/18/2021
*   Joint Statement of Evidence [See KCLCR 4 (k)]                                               10/25/2021
   DEADLINE for filing Trial Briefs, Proposed Findings of Fact and Conclusions of               10/25/2021
   Law and Jury Instructions (Do not file proposed Findings of Fact and
   Conclusions of Law with the Clerk)
   Trial Date [See KCLCR 40].                                                                   11/01/2021
The * indicates a document that must be filed with the Superior Court Clerk’s Office by the date shown.

                                               III. ORDER

Pursuant to King County Local Rule 4 [KCLCR 4], IT IS ORDERED that the parties shall comply with the
schedule listed above. Penalties, including but not limited to sanctions set forth in Local Rule 4(g) and
Rule 37 of the Superior Court Civil Rules, may be imposed for non-compliance. It is FURTHER
ORDERED that the party filing this action must serve this Order Setting Civil Case Schedule and
attachment on all other parties.


DATED:      11/03/2020




                                                                     PRESIDING JUDGE




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                   IV. ORDER ON CIVIL PROCEEDINGS FOR ASSIGNMENT TO JUDGE

READ THIS ORDER BEFORE CONTACTING YOUR ASSIGNED JUDGE.
This case is assigned to the Superior Court Judge whose name appears in the caption of this case
schedule. The assigned Superior Court Judge will preside over and manage this case for all pretrial matters.

COMPLEX LITIGATION: If you anticipate an unusually complex or lengthy trial, please notify the assigned
court as soon as possible.

APPLICABLE RULES: Except as specifically modified below, all the provisions of King County Local Civil
Rules 4 through 26 shall apply to the processing of civil cases before Superior Court Judges. The local civil
rules can be found at www.kingcounty.gov/courts/clerk/rules/Civil.

CASE SCHEDULE AND REQUIREMENTS: Deadlines are set by the case schedule, issued pursuant to
Local Civil Rule 4.

THE PARTIES ARE RESPONSIBLE FOR KNOWING AND COMPLYING WITH ALL DEADLINES
IMPOSED BY THE COURT’S LOCAL CIVIL RULES.

A. Joint Confirmation regarding Trial Readiness Report
No later than twenty one (21) days before the trial date, parties shall complete and file (with a copy to the
assigned judge) a joint confirmation report setting forth whether a jury demand has been filed, the expected
duration of the trial, whether a settlement conference has been held, and special problems and needs (e.g.,
interpreters, equipment).

The Joint Confirmation Regarding Trial Readiness form is available at www.kingcounty.gov/courts/scforms.
If parties wish to request a CR 16 conference, they must contact the assigned court. Plaintiff’s/petitioner’s
counsel is responsible for contacting the other parties regarding the report.

B. Settlement/Mediation/ADR
a. Forty five (45) days before the trial date, counsel for plaintiff/petitioner shall submit a written settlement
demand. Ten (10) days after receiving plaintiff’s/petitioner’s written demand, counsel for
defendant/respondent shall respond (with a counter offer, if appropriate).

b. Twenty eight (28) days before the trial date, a Settlement/Mediation/ADR conference shall have been
held. FAILURE TO COMPLY WITH THIS SETTLEMENT CONFERENCE REQUIREMENT MAY RESULT
IN SANCTIONS.

C. Trial
Trial is scheduled for 9:00 a.m. on the date on the case schedule or as soon thereafter as convened by the
court. The Friday before trial, the parties should access the court’s civil standby calendar on the King County
Superior Court website www.kingcounty.gov/courts/superiorcourt to confirm the trial judge assignment.

MOTIONS PROCEDURES

A. Noting of Motions

Dispositive Motions: All summary judgment or other dispositive motions will be heard with oral argument
before the assigned judge. The moving party must arrange with the hearing judge a date and time for the
hearing, consistent with the court rules. Local Civil Rule 7 and Local Civil Rule 56 govern procedures for
summary judgment or other motions that dispose of the case in whole or in part. The local civil rules can be
found at www.kingcounty.gov/courts/clerk/rules/Civil.

Non-dispositive Motions: These motions, which include discovery motions, will be ruled on by the
assigned judge without oral argument, unless otherwise ordered. All such motions must be noted for a date
by which the ruling is requested; this date must likewise conform to the applicable notice requirements.
Rather than noting a time of day, the Note for Motion should state “Without Oral Argument.” Local Civil Rule


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7 governs these motions, which include discovery motions. The local civil rules can be found at
www.kingcounty.gov/courts/clerk/rules/Civil.

Motions in Family Law Cases not involving children: Discovery motions to compel, motions in limine,
motions relating to trial dates and motions to vacate judgments/dismissals shall be brought before the
assigned judge. All other motions should be noted and heard on the Family Law Motions calendar. Local
Civil Rule 7 and King County Family Law Local Rules govern these procedures. The local rules can be
found at www.kingcounty.gov/courts/clerk/rules.

Emergency Motions: Under the court’s local civil rules, emergency motions will usually be allowed only
upon entry of an Order Shortening Time. However, some emergency motions may be brought in the Ex
Parte and Probate Department as expressly authorized by local rule. In addition, discovery disputes may be
addressed by telephone call and without written motion, if the judge approves in advance.

B. Original Documents/Working Copies/ Filing of Documents: All original documents must be filed
with the Clerk’s Office. Please see information on the Clerk’s Office website at
www.kingcounty.gov/courts/clerk regarding the requirement outlined in LGR 30 that attorneys must e-file
documents in King County Superior Court. The exceptions to the e-filing requirement are also available on
the Clerk’s Office website. The local rules can be found at www.kingcounty.gov/courts/clerk/rules.

The working copies of all documents in support or opposition must be marked on the upper right corner of
the first page with the date of consideration or hearing and the name of the assigned judge. The assigned
judge’s working copies must be delivered to his/her courtroom or the Judges’ mailroom. Working copies of
motions to be heard on the Family Law Motions Calendar should be filed with the Family Law Motions
Coordinator. Working copies can be submitted through the Clerk’s office E-Filing application at
www.kingcounty.gov/courts/clerk/documents/eWC.

Service of documents: Pursuant to Local General Rule 30(b)(4)(B), e-filed documents shall be
electronically served through the e-Service feature within the Clerk’s eFiling application. Pre-registration to
accept e-service is required. E-Service generates a record of service document that can be e-filed. Please
see the Clerk’s office website at www.kingcounty.gov/courts/clerk/documents/efiling regarding E-Service.

Original Proposed Order: Each of the parties must include an original proposed order granting requested
relief with the working copy materials submitted on any motion. Do not file the original of the proposed
order with the Clerk of the Court. Should any party desire a copy of the order as signed and filed by the
judge, a pre-addressed, stamped envelope shall accompany the proposed order. The court may distribute
orders electronically. Review the judge’s website for information:
www.kingcounty.gov/courts/SuperiorCourt/judges.

Presentation of Orders for Signature: All orders must be presented to the assigned judge or to the Ex
Parte and Probate Department, in accordance with Local Civil Rules 40 and 40.1. Such orders, if presented
to the Ex Parte and Probate Department, shall be submitted through the E-Filing/Ex Parte via the Clerk
application by the attorney(s) of record. E-filing is not required for self-represented parties (non-attorneys). If
the assigned judge is absent, contact the assigned court for further instructions. If another judge enters an
order on the case, counsel is responsible for providing the assigned judge with a copy.

Proposed orders finalizing settlement and/or dismissal by agreement of all parties shall be presented
to the Ex Parte and Probate Department. Such orders shall be submitted through the E-Filing/Ex Parte
via the Clerk application by the attorney(s) of record. E-filing is not required for self-represented parties (non-
attorneys). Formal proof in Family Law cases must be scheduled before the assigned judge by contacting
the bailiff, or formal proof may be entered in the Ex Parte Department. If final order and/or formal proof
are entered in the Ex Parte and Probate Department, counsel is responsible for providing the
assigned judge with a copy.

C. Form
Pursuant to Local Civil Rule 7(b)(5)(B), the initial motion and opposing memorandum shall not exceed 4,200
words and reply memoranda shall not exceed 1,750 words without authorization of the court. The word count


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includes all portions of the document, including headings and footnotes, except 1) the caption; 2) table of
contents and/or authorities, if any; and 3): the signature block. Over-length memoranda/briefs and motions
supported by such memoranda/briefs may be stricken.

IT IS SO ORDERED. FAILURE TO COMPLY WITH THE PROVISIONS OF THIS ORDER MAY RESULT
IN DISMISSAL OR OTHER SANCTIONS. PLAINTIFF/PEITITONER SHALL FORWARD A COPY OF THIS
ORDER AS SOON AS PRACTICABLE TO ANY PARTY WHO HAS NOT RECEIVED THIS ORDER.




                                                                     PRESIDING JUDGE




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                                                          All Documents




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         the Get Document button.                      1              18             11/03/2020            Commercial Complaint

                                                       2              6              11/03/2020            Order Setting Case Schedule - Civil
                                                       3              1              11/03/2020            Case Information Cover Sheet




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